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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.

 PAULINE B. SCHROEDER,

       Plaintiff,

 v.

 INTEGRITY FINANCIAL PARTNERS, INC.,

      Defendant.
 _________________________________________/

                                   COMPLAINT
                                  JURY DEMAND

       1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. §1692 et seq. (“FDCPA”) and the Florida Consumer Collection Practices

 Act, Fla. Stat. §559.55 et seq. (“FCCPA”).

                          JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and

 15 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here

 and Defendant placed telephone calls into this District.

                                      PARTIES

       3.     Plaintiff, PAULINE B. SCHROEDER, is a natural person, and citizen

 of the State of Florida, residing in Palm Beach County, Florida.
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        4.    Defendant, INTEGRITY FINANCIAL PARTNERS, INC., is a

 limited liability company and citizen of the State of Kansas with its principal place

 of business at Suite 100, 4370 West 109th Street, Overland Park, Kansas 66211.

        5.    Defendant regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

        6.    Defendant regularly collects or attempts to collect debts for other

 parties.

        7.    Defendant is a “debt collector” as defined in the FDCPA.

        8.    Defendant was acting as a debt collector with respect to the collection

 of Plaintiff’s alleged debt.

                                FACTUAL ALLEGATIONS

        9.    Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family or household purposes.

        10.   Defendant left the following messages on Plaintiff’s voice mail on her

 residential telephone on or about the dates stated:

        September 12, 2009 at 10:48 AM
        This message is for Pauline Schroeder. My name is Doug Pike. I do need to
        speak with you in regards to a personal business matter of yours that has
        come across my desk. (Inaudible) needs your immediate attention. The
        number is 866-951-8061, my direct extension is 2024. 866-951-8061, my
        direct extension is 2024. It is important I speak with you today.


        October 9, 2009 at 12:12 PM



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       This call’s an attempt to contact Pauline Schroeder. It is very important that
       we receive a response to this message today. Please call 866-951-8061, the
       number again is 866-951-8061.

       October 12, 2009 at 2:27 PM
       This message is for Pauline Schroeder. Pauline, it is important I speak with
       you today. My toll free number 866-951-8061, again that toll free number
       Pauline, 866-951-8061. Thank you.

       October 16, 2009 at 12:12 PM
       Hi, this is Andrea and I’m trying to get in contact with Pauline Schroeder. It
       is very important that a response is made to this call today. My phone
       number here is 866- 951-8061. Again that number is 866-951-8061. Thank
       you.

       October 20, 2009 at 11:40 AM
       This message is for Pauline Schroeder. Pauline, it is important that I speak to
       you today. My toll free number is 866-951-8061. Again, that toll free
       number is 866-951-8061. Thank you.

       October 22, 2009 at 1:05 PM
       Hi, this is Andrea. This is an attempt to get in contact with Pauline
       Schroeder. It is very important that a response is made to this call today. My
       phone number here is 866-951-8061. Again, the number 866-951-8061.

       October 27, 2009 at 12:11 PM
       Hi, this is Andrea. This is an attempt to get in contact with Pauline
       Schroeder. It is very important that a response is made to this call today. My
       phone number here is 866-951-8061. Again, the number is 866-951-8061.
       Thank you.

       November 4, 2009 at 7:40 PM
       Yes, this message is for Pauline. My name is Doug Pike. I do need to speak
       with you in regards to a personal business matter of yours that has come
       across my desk. It does need your immediate attention. The number here is
       866-951-8061, my direct extension is 2223. That’s 866-951-8061 and my
       direct extension is 2223. It is important that I speak with you today.


       November 6, 2009 at 12:05 PM

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       Hi, Pauline Schroeder. This is Amy (inaudible), ah I was retained as of
       today. I need to speak with you or someone representing you on your behalf.
       My number is 1-866-951-8061.

       December 9, 2009 at 12:41 PM
       This message is for Pauline Schroeder. My name is Rochelle. I do need for
       you to return my phone number, phone call, sorry, at 866-951-8061.

       December 22, 2009 at 2:27 PM
       Hi, this is Andrea from Integrity Financial and this an attempt to get in
       contact with Pauline Schroeder. It is very important that a response is made
       to this call today. My phone number here is 866-951-8061. Thank you.

       December 28, 2009 at 2:02 PM
       Hi, this is Andrea from Integrity Financial and this is an attempt to get in
       contact with Pauline Schroeder. It is very important that a response is made
       to this call today. My phone number is here is 866-951-8061. Again, that
       number was 866-951-8061. Thank you.

       January 6, 2010 at 2:50 PM – Pre-Recorded Message
       80.

       January 11, 2010 at 4:54 PM – Pre-Recorded Message
       980.

       January 19, 2010 at 4:52 PM – Pre-Recorded Message
       Important business matter. We are a debt collector. This is an attempt to
       collect a debt and any information obtained will be used for that purpose.
       This is not a solicitation. Your response is required or reach us on the web at
       www.gotomls.com. When returning our call, please use following reference
       number: 09786980.

       January 26, 2010 at 3:51 PM – Pre-Recorded Message
       980.


       11.   Defendant left similar or identical messages on other occasions.

 (Collectively, “the telephone messages”).



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       12.    The messages are “communications” as defined by 15 U.S.C.

 §1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

 Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).

       13.    Defendant failed to inform Plaintiff in the messages that the

 communication was from a debt collector and failed to disclose the purpose of

 Defendant’s messages and failed to disclose Defendant’s name.

                            COUNT I
         FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR

       14.    Plaintiff incorporates Paragraphs 1 through 13.

       15.    Defendant failed to disclose in the telephone messages that it is a debt

 collector in violation of 15 U.S.C. §1692e(11). See Foti v. NCO Fin. Sys., 424 F.

 Supp. 2d 643, 646 (D.N.Y. 2006) and Belin v. Litton Loan Servicing, 2006 U.S.

 Dist. LEXIS 47953 (M. D. Fla. 2006) and Leyse v. Corporate Collection Servs.,

 2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit; and

              c.    Such other or further relief as the Court deems proper.

                         COUNT II
     FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY


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       16.     Plaintiff incorporates Paragraphs 1 through 13.

       17.     Defendant placed telephone calls to Plaintiff without making

 meaningful disclosure of its identity when it failed to disclose its name and the

 purpose of Defendant’s communication in the telephone messages in violation of

 15 U.S.C §1692d(6). See Valencia v The Affiliated Group, Inc., Case No. 07-

 61381-Civ-Marra/Johnson, 2008 U. S. Dist. LEXIS 73008, (S.D.Fla., September

 23, 2008); Wright v. Credit Bureau of Georgia, Inc., 548 F. Supp. 591, 593 (D. Ga.

 1982); and Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp. 2d 1104 (D. Cal. 2005).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit; and

               c.    Such other or further relief as the Court deems proper.

                       COUNT III
  TELEPHONIC HARASSMENT AND ABUSE BY EXCESSIVE CALLING

       18.     Plaintiff incorporates Paragraphs 1 through 13.

       19.     Defendant caused Plaintiff’s telephone to ring repeatedly or

 continuously with the intent to annoy, abuse or harass in violation of 15 U.S.C

 §1692d(5). See Sanchez v. Client Servs., 520 F. Supp. 2d 1149, 1160-1161 (N.D.

 Cal. 2007).




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       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit; and

               c.    Such other or further relief as the Court deems proper.

                         COUNT IV
     ILLEGAL COLLECTION TECHNIQUES IN VIOLATION OF THE
        FLORIDA CONSUMER COLLECTION PRACTICES ACT

       20.     Plaintiff incorporates Paragraphs 1 through 13.

       21.     Defendant asserted the right to collect a debt by leaving repeated

 telephone messages for Plaintiff without disclosing its name and that it is a debt

 collector and the purpose of its communications when Defendant knew it did not

 have a legal right to use such collection techniques in violation of Fla. Stat.

 §559.72(9).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit;

               c.    declaring that Defendant’s practices violate the FCCPA;

               d.    permanently injoining Defendant from engaging in the

               complained of practices; and



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              e.    Such other or further relief as the Court deems proper.

                          COUNT V
      HARASSMENT IN VIOLATION OF THE FLORIDA CONSUMER
                COLLECTION PRACTICES ACT

       22.    Plaintiff incorporates Paragraphs 1 through 13.

       23.    By failing to disclose its name, that it is a debt collector and the

 purpose of its communication, and by telephoning Plaintiff with such frequency as

 can be reasonably be expected to harass, Defendant willfully engaged in conduct

 the natural consequence of which is to harass in violation of Fla. Stat. §559.72(7).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit;

              c.    declaring that Defendant’s practices violate the FCCPA;

              d.    permanently injoining Defendant from engaging in the

              complained of practices; and

              e.    Such other or further relief as the Court deems proper.

                                        JURY DEMAND

        Plaintiff demands trial by jury.

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